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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                                  JACKSON DIVISION

UNITED STATES OF AMERICA

v.                                                   CRIMINAL NO. 3:08cr146WHB-JCS

LITON KENDELL MAGEE

                                    ORDER OF DISMISSAL
                                       COUNTS 2-6

        Pursuant to Rule 48(a) of the Federal Rules of Criminal Procedure, and by leave of Court

endorsed herein, the United States Attorney for the Southern District of Mississippi hereby

dismisses Counts 2-6 of the Criminal Indictment against the defendant, LITON KENDELL

MAGEE, without prejudice.


                                                     STAN HARRIS
                                                     Acting United States Attorney



Date:    April 28, 2009                              By:    s/ Erin O. Chalk
                                                     Assistant U. S. Attorney

        Leave of Court is granted for the filing of the foregoing dismissal of Counts 2-6.

        ORDERED this the 4th day of May, 2009.




                                              s/William H. Barbour, Jr.
                                              UNITED STATES DISTRICT JUDGE
